       Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 1 of 20                  FILED
                                                                              2019 Jan-11 PM 12:40
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

JENNIFER SMITH,                             ]
                                            ]
      Plaintiff,                            ]
                                            ]
v.                                          ]           2:17-cv-01320-ACA
                                            ]
CITY OF PELHAM, et al.,                     ]
                                            ]
      Defendants.                           ]

                    MEMORANDUM OPINION AND ORDER

      This matter comes before the court on Defendants City of Pelham and Larry

Palmer’s motion to dismiss and/or motion for partial summary judgment on Counts

Three, Four, and Five of the second amended complaint (doc. 60), and

Mr. Palmer’s motion to dismiss Counts Three, Four, and Five of the second

amended complaint (doc. 62).

      Plaintiff Jennifer Smith was a city employee working in the Pelham Police

Department. Mr. Palmer, the Chief of Police, ordered a warrantless search of her

work computer. Unbeknownst to Ms. Smith, her work computer contained backup

copies of her personal cell phone and, based at least in part on photographs found

on those backups, Mr. Palmer suspended and later terminated Ms. Smith’s

employment.        Ms. Smith filed suit, asserting various claims against both

Mr. Palmer and the City of Pelham. Of relevance to these motions, she claims that
       Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 2 of 20



Defendants (1) subjected her to an unconstitutional search of her personal

cellphone, in violation of the Fourth Amendment (“Count Three”); (2) deprived

her of due process, in violation of the Fourteenth Amendment (“Count Four”); and

(3) invaded her privacy, in violation of Alabama law (“Count Five”). (Doc. 59 at –

63). Defendants do not seek dismissal of or summary judgment on Counts One

and Two, so the court will not discuss those claims.

      Because Ms. Smith lacked an objectively reasonable expectation of privacy

in the backup copies of her cell phone, the court GRANTS summary judgment in

favor of Defendants and against Ms. Smith on Count Three. Because Defendants

provided Ms. Smith with all the process she was due during her appeal of her

termination, the court GRANTS summary judgment in favor of Defendants and

against Ms. Smith on Count Four.         And because Defendants obtained only

information that they properly accessed through Ms. Smith’s work computer, the

court GRANTS summary judgment in favor of Defendants and against Ms. Smith

on Count Five.

I.    BACKGROUND

      A motion to dismiss constrains the court to consider, with limited

exceptions, only the allegations made in the complaint, Butler v. Sheriff of Palm

Beach Cty., 685 F.3d 1261, 1265 (11th Cir. 2012), but a motion for summary

judgment requires the court to consider evidence submitted by the parties, see



                                         2
       Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 3 of 20



Hamilton v. Southland Christian Sch., Inc., 680 F.3d 1316, 1318 (11th Cir. 2012).

Setting out the facts in this case is complicated because the City of Pelham and

Mr. Palmer moved both to dismiss and for summary judgment on Counts Three,

Four, and Five. (Doc. 60). At the same time, Mr. Palmer also filed a separate

motion to dismiss, asserting that he is entitled to qualified immunity from Counts

Three and Four, and state agent immunity from Count Five. (Doc. 62). Although

the court set out two separate briefing schedules (docs. 64, 65), Ms. Smith

responded to both motions in one filing, adopting and incorporating by reference

evidence that she had submitted to the court during an earlier round of motions

practice. (Doc. 67).

      For the sake of simplicity, and because the court concludes that it can

resolve the claims against both defendants based on the joint motion for summary

judgment, the court will use the summary judgment standard. Accordingly, the

court draws its description of the facts from the evidence, drawing all inferences

and reviewing all evidence in the light most favorable to Ms. Smith. See Hamilton,

680 F.3d at 1318.

      The City of Pelham is a governmental municipal corporation in Shelby

County, Alabama. (Doc. 59 at 40 ¶ 207). From November 2003 until October

2015, Ms. Smith was the Executive Administrative Assistant to the Chief of Police

of the City of Pelham, a position that made her a permanent employee in the City



                                        3
           Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 4 of 20



of Pelham’s classified service. (Id. at 4 ¶ 14, 40 ¶ 209, 51 ¶ 259, 53 ¶ 269).

Mr. Palmer became the Chief of Police in March 2015. (Doc. 13-1 at 2).

       The City of Pelham has a “Civil Service Law Handbook,” which sets out

“provisions with respect to appointment, career development, removal, discipline,

and related conditions of employment in the classified service.” (Doc. 13-7 at 1,

3). The Handbook provides that the Chief of Police is a Department Head and, as

such, an “appointing authority.” (Id. at 8–9). Under the policies set out in the

Handbook, an appointing authority may dismiss, demote, or suspend an employee

within the classified service “for cause or for any reason deemed to be in the best

interest of the public service.” (Id. at 43).    Either before or on the date of the

dismissal, the appointing authority must give the employee written notice of

dismissal, including “[t]he cause of action,” the effective date of the dismissal, and

“[a]ny other information deemed appropriate.”1 (Id. at 44).

       A permanent employee may appeal a dismissal or suspension to the

Personnel Board (doc. 13-7 at 45), which is tasked with reviewing, approving,

disapproving, or modifying administrative actions (id. at 15). On receipt of an

appeal, the Board must hold a public hearing to determine whether the employee

should be retained “or should be removed or otherwise disciplined.” (Id. at 45).


       1
         The only provision in the Handbook about the requirements for suspension relates to
suspension without pay. (Doc. 13-7 at 44). The record confirms that Ms. Smith’s suspension
was with pay. (Doc. 13-1 at 6; see also Doc. 37 at 8).


                                             4
       Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 5 of 20



      In addition to the Handbook, the City of Pelham has a “Social Networking

Policy,” which sets out guidelines for public employees’ use of social networking

websites (doc. 13-3 at 2–3), and a “Computer/Email & Internet Use Policy” (the

“Computer Policy”), which governs employees’ use of the City’s computer

systems (doc. 13-5 at 2–4). The Computer Policy provides in relevant part:

             All software, programs, applications, templates, data and data
      files residing on computer systems or storage media or developed on
      the city’s systems are property of the City of Pelham . . . . The City of
      Pelham, therefore, may access, copy, change, alter, modify, destroy,
      delete or erase this property.

(Doc. 13-5 at 2–3).

      From as early as 2007, Ms. Smith and Mr. Palmer clashed. (Doc. 59 at 5–6;

Doc. 37-1 at 6–7). Ms. Smith filed complaints against Mr. Palmer before he

became the Chief of Police in March 2015. (Doc. 37-3 at 17–18). For his part,

Mr. Palmer attested that shortly after he became the Chief of Police, he began to

suspect that Ms. Smith was performing work for her secondary employer while on

the clock at the Police Department and that she was misusing her sick and leave

time. (Doc. 13-1 at 2–3). He also asserts that he received complaints about

Ms. Smith’s activity on Facebook. (Id. at 3–4). As a result, he states, on an

undisclosed date, he ordered an investigation into Ms. Smith’s use of social

networking sites and leave time. (Id. at 4).




                                          5
       Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 6 of 20



      Around the same time, Mr. Palmer denied one of Ms. Smith’s requests to

use her compensation time. (Doc. 37-1 at 3). Based on that denial, on September

2, 2015, she filed with the City of Pelham Human Resources Department a

complaint of sex discrimination against Mr. Palmer. (Id.). Mr. Palmer received

notification of the complaint on the same day. (Id.).

      Eight days later, on September 10, 2015, Mr. Palmer ordered Detective

Patrick McGill to review Ms. Smith’s work computer. (Doc. 13-1 at 5; Doc. 37-3

at 20). Two dayslater, Detective McGill imaged her computer and found backup

copies of Ms. Smith’s personal cell phone. (Doc. 37-3 at 20–21). Those backup

copies contained nude photographs of Ms. Smith and other people. (Id. at 21).

Detective McGill testified that the only way the computer could have backed up

Ms. Smith’s cell phone was if she had plugged her phone into her computer. (Id. at

21–22). Ms. Smith later testified that she had connected her cell phone to her

computer for work purposes, but she had not known that the computer would make

backup copies of her phone. (Doc. 37-3 at 29–31, 113; see also Doc. 59 at 44

¶ 228). The backup copies were accessible to anyone on the City network with

administrator privileges. (Doc. 37-3 at 131–33).

      On September 24, 2018, Mr. Palmer met with Ms. Smith and Human

Resources Director Janis Parks. (Doc. 37-1 at 5). At the meeting, he informed

Ms. Smith that he was placing her on administrative leave with pay pending



                                         6
           Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 7 of 20



completion of an internal investigation. (Id.; Doc. 13-1 at 6).          On     October      1,

2015, Mr. Palmer held another meeting with Ms. Smith and Ms. Parks. (Doc. 37-1

at 5; Doc. 13-1 at 6). At that meeting, he offered her the opportunity to resign and

“not face these circumstances,” but she apparently declined to resign. (See Doc.

37-3 at 14). As a result, Mr. Palmer “verbally terminated [her] from the City of

Pelham Police Department effective that day, October 1, 2015, for violation of the

Internet policy and conduct unbecoming of an employee.” (Doc. 37-1 at 5–6).

Mr. Palmer did not give her any other information about the reasons for her

termination.2 (Id. at 6).

       At some point after the meeting, Mr. Palmer drafted a Disciplinary Action

Notification identifying the reasons for termination, which he dated October 1,

2015. (Doc. 13-1 at 7; Doc. 13-6 at 2). The Notification states that Mr. Palmer

recommended and approved the recommendation to dismiss Ms. Smith for conduct

unbecoming an employee in the public service and violation of the Social

Networking and Computer Policies. (Doc. 13-6 at 2–3). The Notification includes

a handwritten note by Mr. Palmer that the “[f]orm was completed after an initial

meeting with [Ms. Smith].” (Id. at 3). Although Mr. Palmer signed the form,

Ms. Smith did not. (Id.).

       2
         Although Mr. Palmer disputes Ms. Smith’s testimony that he did not give her any
information about the investigation at either the September 24 or the October 1 meeting, at this
stage the court must accept Ms. Smith’s testimony about what Mr. Palmer told her. See
Hamilton, 680 F.3d at 1318.


                                               7
        Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 8 of 20



      The parties have not pointed to evidence in the record establishing when

Mr. Palmer or the City gave Ms. Smith a copy of the Notification, but according to

her second amended complaint, she did not receive the Notification until October

15, 2015, after she filed an appeal of her termination. (Doc. 59 at 54 ¶ 273).

Before the hearing, Ms. Smith requested copies of her personnel file and all

documents relating to her termination, but Human Resources Director Janis Parks

provided only excerpts of her personnel file. (Doc. 37-1 at 9; Doc. 59 at 55

¶¶ 277–78).

      The Personnel Board held a hearing on October 28, 2015. (Doc. 37-3 at 2).

Ms. Smith was represented by counsel, who was allowed to question witnesses,

including Ms. Smith, Mr. Palmer, and Detective McGill. (See generally Doc. 37-

3).   During the hearing, Mr. Palmer acted hostile toward Ms. Smith and her

attorney. (Doc. 37-1 at 11; Doc. 37-3 at 17, 66). In addition, Ms. Smith asserts

that the Personnel Board did not allow her attorney to pursue a line of questioning

about her complaint of discrimination against Mr. Palmer. (Doc. 67 at 18; see

Doc. 37-3 at 18–19, 51–53). But the record shows that the Board questioned

Ms. Parks, the Department’s Human Resources Director, about that complaint at

length, and Ms. Smith’s attorney was able to draw the Board’s attention to the

temporal proximity between Ms. Smith’s complaint of discrimination and

Mr. Palmer’s order to search her work computer. (Doc. 37-3 at 100–11).



                                         8
       Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 9 of 20



      On November 5, 2015, Ms. Parks sent Ms. Smith a letter stating that the

Personnel Board had affirmed her dismissal because it was “of the opinion that

substantial evidence supports the City’s dismissal decision.” (Doc. 13-8 at 2).

The Civil Service Law Handbook provides that “[t]he decision of the Board . . .

shall be final subject to appeal by either party to the Circuit Court to review

questions and whether or not the decision or order of the Board is supported by

substantial evidence legally received by the Board.”        (Doc. 13-7 at 48).

Defendants contend that Ms. Smith did not appeal the Board’s decision (doc. 61 at

17), and Ms. Smith has not controverted that assertion.

II.   DISCUSSION

      The City and Mr. Palmer seek summary judgment on Counts Three, Four,

and Five—Ms. Smith’s claims that they subjected her to an unconstitutional search

(Count Three), deprived her of due process (Count Four), and invaded her privacy

(Count Five). (Docs. 60, 62). The court will address each count separately.

      1.    Count Three (Fourth Amendment Claim)

      The Fourth Amendment guarantees that people shall “be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures.”

U.S. Const. amend. IV.         “The Fourth Amendment’s prohibition against

unreasonable searches and seizures protects an individual in those places where

[she] can demonstrate a reasonable expectation of privacy against government



                                         9
       Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 10 of 20



intrusion.” United States v. King, 509 F.3d 1338, 1341 (11th Cir. 2007) (quotation

marks omitted).      The Amendment applies “without regard to whether the

government actor is investigating crime or performing another function,” including

acting as an employer. City of Ontario, Cal. v. Quon, 560 U.S. 746, 756 (2010).

      An individual has a reasonable expectation of privacy only if she can

establish both a subjective expectation of privacy in the object of the search and

“that society is prepared to recognize as reasonable” the expectation of privacy. Id.

(quotation marks omitted). And if an individual lacks a reasonable expectation of

privacy, she cannot challenge the search. Id.; see also Presley v. United States,

895 F.3d 1284, 1290 (11th Cir. 2018) (“[S]tanding under the Fourth Amendment is

not jurisdictional; instead, we analyze it as a merits issue.”).

      The City and Mr. Palmer assert that Ms. Smith had no subjective expectation

of privacy because the City’s Computer Policy provided that the City had a right to

monitor all users of City computing systems. (Doc. 61 at 10–12). Alternatively,

they argue that the search was objectively reasonable because Mr. Palmer was

investigating whether Ms. Smith had violated City policies regulating leave time,

social networking, and secondary employment. (Id. at 13–14).

      Ms. Smith does not contend that she had an expectation of privacy in her

work computer; instead, she “focuses, not on the examination of the contents of her

business computer, but the further intrusion into the contents of what Defendants



                                           10
       Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 11 of 20



knew was Smith’s personal cell phone.” (Doc. 67 at 6). She argues that her

employer would not be permitted to conduct a warrantless search of her cell phone

merely because it was located in her work office, so it could not search the

electronic copy of her cell phone merely because it was saved on her work

computer. (Id. at 7–9). Ms. Smith’s position is unavailing.

      The Eleventh Circuit has held that a person lacks an objectively reasonable

expectation of privacy in computer files that he inadvertently shared over a

computer network. United States v. King, 509 F.3d 1338, 1342 (11th Cir. 2007).

In King, the criminal defendant—a civilian contractor for the military—connected

his personal laptop to a governmental network, exposing his hard drive to anyone

who had access to the network. Id. at 1339–40. Although the defendant believed

that he had protected his files using security settings, an airman using the network

found pornographic files and reported that discovery to a military investigator,

leading to a search of the laptop computer and hard drive through the network. Id.

at 1340–41.    The Eleventh Circuit noted that, just as people do not have an

objective expectation of privacy in common areas of a multi-unit apartment

building or a dumpster accessible to the public, a person does not have an objective

expectation of privacy in files accessible through a network where “the military

authorities encountered the files without employing any special means or intruding




                                        11
       Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 12 of 20



into any area which [the defendant] could reasonably expect would remain

private.” Id. at 1341–42.

       The King decision controls the outcome of this claim. Even assuming that

Ms. Smith had a subjectively reasonable expectation of privacy in the contents of

her cell phone, she did not have an objectively reasonable expectation of privacy in

the content of her work computer, which included the backup copies of her

personal phone.     The City’s Computer Policy provided that “[t]he City of

Pelham . . . may access, copy, change, alter, modify, destroy, delete or erase [all

data and data files residing on City computer systems or storage media].” (Doc.

13-5 at 2–3). Ms. Smith testified that she was aware of that policy. (Doc. 37-3 at

35).

       The fact that Ms. Smith did not know that connecting her phone to her

computer would cause the computer to back up the contents of the phone does not

alter the analysis. In King, the defendant erroneously believed the files contained

on his personal computer were protected by security safeguards. King, 509 F.3d at

1341. Nevertheless, he lost any reasonable expectation of privacy in the files on

his computer once he connected them to a network by which others could access

them “without employing any special means or intruding into any area which [the

defendant] could reasonably expect would remain private.” Id. at 1342. In this

case, Ms. Smith did not know that connecting her phone to her work computer



                                        12
       Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 13 of 20



would cause the computer to save a copy of her phone. Nevertheless, once the

computer backed up her cell phone, the previously private data became accessible

to her employer “without employing any special means or intruding into any area

which [Ms. Smith] could reasonably expect would remain private.” Id. It was

saved on a City computer that was connected to a City network, and Detective

McGill testified that anyone with administrative access to the network could access

the cell phone back ups. (Doc. 37-3 at 123, 131–33).

      Given that Ms. Smith lacked a reasonable expectation of privacy in the

information contained on her work computer, including the backup of her personal

cell phone, the court GRANTS the motion for summary judgment on Count Three

in favor of Defendants and against Ms. Smith.

      2.     Count Four (Fourteenth Amendment Claim)

      The Fourteenth Amendment to the U.S. Constitution states that “[n]o State

shall . . . deprive any person of life, liberty, or property, without due process of

law.” U.S. Const. amend. XIV, § 1. A procedural due process claim “requires

proof of three elements: (1) a deprivation of a constitutionally-protected liberty or

property interest; (2) state action; and (3) constitutionally-inadequate process.”

Arrington v. Helms, 438 F.3d 1336, 1347 (11th Cir. 2006). In addition, “the state

may cure a procedural deprivation by providing a later procedural remedy; only

when the state refuses to provide a process sufficient to remedy the procedural



                                         13
       Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 14 of 20



deprivation does a constitutional violation actionable under section 1983 arise.”

McKinney v. Pate, 20 F.3d 1550, 1557 (11th Cir. 1994) (en banc).

      The City and Mr. Palmer do not dispute that Ms. Smith had a protected

property interest in her employment with the City of Pelham or that her termination

constituted state action. (See Doc. 61 at 14–18). Instead, they argue that she

received constitutionally adequate process before her termination.             (Id.).

Ms. Smith responds that she did not receive adequate process before either her

suspension or her termination. (Doc. 67 at 17–19).

      As an initial matter, to the extent Ms. Smith’s claim relates to Defendants’

failure to comply with the City’s own requirements before suspending an

employee, an employer’s failure to comply with its own rules does not, by itself,

amount to a deprivation of due process. See Smith v. Georgia, 684 F.2d 729, 733

n.6 (11th Cir. 1982) (“[N]ot every violation by a state agency of its own rules rises

to the level of a due process infringement.”); see also Yarbrough v. Decatur Hous.

Auth., 905 F.3d 1222, 1230 (11th Cir. 2018) (William Pryor, J., concurring)

(“Under our precedents, an agency’s failure to follow its own procedural

regulations gives rise to a due process violation only if the procedures the agency

actually applied in lieu of those required by its regulations failed to provide what

the Due Process Clause itself requires: notice and an opportunity to be heard.”)

(quotation marks omitted).



                                         14
       Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 15 of 20



      And Ms. Smith’s claim that Defendants’ failure to provide a pre-suspension

hearing constituted a due process violation fails. Neither the Supreme Court nor

the Eleventh Circuit has held that a public employee is entitled to a pre-suspension

hearing, especially where the suspension is with pay, as Ms. Smith’s suspension

was. (Doc. 13-1 at 6; see also Doc. 37 at 8). Indeed, the Supreme Court has

indicated in dicta that no hearing is necessary where the employer suspends the

employee with pay. Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 544–45

(1985) (footnote omitted) (“[I]n those situations where the employer perceives a

significant hazard in keeping the employee on the job, it can avoid the problem by

suspending with pay.”); cf. Gilbert v. Homar, 520 U.S. 924, 930 (1997) (rejecting a

categorical rule that a government employer may not suspend an employee without

pay absent a pre-suspension hearing).

      So Ms. Smith’s claim must rest on the termination. She takes issue with

both the termination itself and her appeal of the termination to the Personnel

Board. (Doc. 67 at 17–19). Specifically, she argues that Defendants deprived her

of due process because (1) Mr. Palmer terminated her on October 1 without

providing her a hearing or a written statement of reasons; (2) the City refused to

provide her with all the evidence she requested in preparation for her appeal to the

Personnel Board and considered sealed evidence that it did not give to her; (3) the

Personnel Board did not allow Ms. Smith to explore her allegation that the



                                        15
       Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 16 of 20



termination was pretext for sex discrimination; and (4) the Personnel Board

allowed Mr. Palmer’s outbursts during the hearing. (Doc. 67 at 17–19). The court

will address only the procedural adequacy of the appeal before the Personnel

Board because, even assuming Mr. Palmer’s “verbal termination” on October 1

deprived Ms. Smith of due process, the post-termination appeal process cured the

violation. See McKinney, 20 F.3d at 1557.

      Before a governmental employer may discharge an employee, that employer

must provide “some kind of a hearing,” Cleveland Bd. of Educ. v. Loudermill, 470

U.S. 532, 542 (1985), which can be “something less than a full evidentiary

hearing” but must include “oral or written notice of the charges against [the

employee], an explanation of the employer’s evidence, and an opportunity to

present [the employee’s] side of the story,” id. at 545–46. “That hearing is not a

mini-trial and ‘need not definitely resolve the propriety of the discharge. It should

be an initial check against mistaken decisions—essentially, a determination of

whether there are reasonable grounds to believe that the charges against the

employee are true and support the proposed action.’” McKinney, 20 F.3d at 1561

(quoting Loudermill, 470 U.S. at 545–46).

      Either at or before the hearing, the City provided Ms. Smith with a copy of

the Disciplinary Action Notification (doc. 59 at 54 ¶ 273), which informed

Ms. Smith of the grounds on which her termination rested (doc. 13-6 at 2). At the



                                         16
       Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 17 of 20



hearing, Ms. Smith’s attorneys and the members of the Board questioned

Mr. Palmer, Ms. Smith, Detective McGill, and other witnesses about the proffered

grounds for her termination. (See generally Doc. 37-3). Ms. Smith was given an

opportunity to explain her Facebook posts, the pictures on her work computer, and

other evidence that Mr. Palmer and City relied on in concluding that she was

working for a secondary employer while on the clock at the Police Department.

(Id.). The hearing provided by the Personnel Board satisfied the requirements of

due process: it provided her notice of the charges against her, an explanation of the

employer’s evidence, and an opportunity to present her side of the story.

Loudermill, 470 U.S. at 545–46.

      As for Ms. Smith’s challenge to the Board’s failure to provide her with all of

the evidence she requested, nothing in Loudermill requires the employer to provide

the employee with all of the evidence she requests. Cf id. at 545 (requiring only

“an explanation of the employer’s evidence”) (emphasis added). Ms. Smith also

asserts that the Board did not allow her to pursue her allegation that the termination

was pretext for retaliation, but the record belies that assertion.        The Board

considered evidence about the temporal proximity between Ms. Smith’s complaint

against Mr. Palmer and Mr. Palmer’s order to search Ms. Smith’s work computer.

(See Doc. 37-3 at 100–11).




                                         17
       Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 18 of 20



      Finally, to the extent Ms. Smith argues that the Personnel Board was biased

and therefore deprived her of due process because it allowed Mr. Palmer’s

outbursts against her, her claim fails because she could have appealed the Board’s

decision to the state circuit court. “[E]ven if a plaintiff suffered a procedural

deprivation at [her] administrative hearing, there is no procedural due process

violation if the state makes available a means to remedy the deprivation.” Laskar

v. Peterson, 771 F.3d 1291, 1300 (11th Cir. 2014). The undisputed evidence

shows that the City’s Civil Service Law Handbook provides that the Personnel

Board’s decision is “subject to appeal by either party to the Circuit Court to review

questions and whether or not the decision or order of the Board is supported by

substantial evidence legally received by the Board.”           (Doc. 13-7 at 48).

Accordingly, even if the Personnel Board was biased, the State’s provision of an

appeal process through the circuit court provided adequate process to cure any

deprivation of due process that occurred during Ms. Smith’s hearing. McKinney,

20 F.3d at 1562 (“The state is obligated only to make available the means by which

the employee can receive redress for the deprivations.”) (alteration and quotation

marks omitted).

      Because Ms. Smith received adequate process after her termination, the

court GRANTS the motion for summary judgment in favor of Defendants and

against Ms. Smith.



                                         18
      Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 19 of 20



      3.    Count Five (Invasion of Privacy Claim)

      Under Alabama law, a plaintiff asserting a wrongful-intrusion invasion of

privacy claim must demonstrate that the defendant intruded into the plaintiff’s

“private activities in such manner so as to outrage or to cause mental suffering,

shame or humiliation to a person of ordinary sensibilities.” Hogin v. Cottingham,

533 So. 2d 525, 530 (Ala. 1988) (quotation marks omitted).         The Alabama

Supreme Court has indicated that where a police chief published a letter making

allegations about an employee’s work ethic, the chief had not invaded the

employee’s privacy because he had not “intruded upon her ‘physical solitude or

seclusion’ by seeking any information that he did not properly have access to

through his role as her supervisor in the police department.” Gary v. Crouch, 867

So. 2d 310, 318 (Ala. 2003).

      In Ms. Smith’s second amended complaint she sought both compensatory

and punitive damages (id. at 63), but in her response to the motion for summary

judgment, she withdraws her request for punitive damages (doc. 67 at 21), leaving

only her request for compensatory damages. Defendants contend that they are

entitled to summary judgment on the invasion of privacy claim because they

obtained only information that Mr. Palmer appropriately accessed as Ms. Smith’s

supervisor, and because she consented to the search of her work computer under

the Computer Policy. (Doc. 61 at 24). Ms. Smith responds that her consent to



                                       19
       Case 2:17-cv-01320-ACA Document 72 Filed 01/11/19 Page 20 of 20



search the computer did not extend to searching her personal cell phone. (Doc. 67

at 14–15).

       As the court discussed above, Ms. Smith was aware of the City’s Computer

Policy and consented to any search of her work computer. The fact that she did not

know connecting her cell phone to her computer would result in personal

photographs being saved on the City’s network does not save her claim.

Defendants accessed only her work computer; they did not intrude anywhere they

were not allowed to access. Accordingly, the court GRANTS the motion for

summary judgment on Count Five.

III.   CONCLUSION

       The court GRANTS the motion for partial summary judgment and

ENTERS SUMMARY JUDGMENT in favor of Defendants and against

Ms. Smith on Counts Three, Four, and Five. (Doc. 60). The court DENIES AS

MOOT Mr. Palmer’s motion to dismiss. (Doc. 62). The court DIRECTS the

Clerk to term Mr. Palmer as a defendant.

       Counts One and Two remain and will proceed to discovery.

       DONE and ORDERED this January 11, 2019.



                                   _________________________________
                                   ANNEMARIE CARNEY AXON
                                   UNITED STATES DISTRICT JUDGE



                                       20
